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                            Exhibit H
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     CNA of Sony Electronics, Inc.
     November 30, 2009



 1                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
 2                              TYLER DIVISION
 3      MARVELL SEMICONDUCTOR,
        INC. MARVELL ASIA PTE,
 4      LTD., AND MARVELL INTL.,
        LTD.
 5
        VB.                                CASE NO. 6-07-CV-204-LED
 6
        COMMONWEALTH SCIENTIFIC
 7      AND INDUSTRIAL RESEARCH
        ORGANISATION
 8

 9

10

11
12                      CERTIFICATE OF NON-APPEARANCE
13                           SONY ELECTRONICS, INC.
14                              NOVEMBER 30, 2009
15

16
                                     ORIGINAL
17

18

19

20
21

22
23
24
25
               Gretchen Shore Court Reporting & Litigation Support
          903-758-2183 * 903-758-4890 * gretchenshore@gretchenshore.com
Case 6:07-cv-00204-LED Document 291-9 Filed 03/15/10 Page 3 of 12 PageID #: 16573

     CNA of Sony Electronics, Inc.
     November 30, 2009



 1                     CERTIFICATE OF NONAPPEARANCE
 2         FOR THE DEPOSITION OF SONY ELECTRONICS, INC.
 3                      MS. HANNAH:     This is Jessica Hannah with
 4 Capshaw DeRieux.        Today is Monday, November 30th, 2009,
 5 at 9:15 a.m.
 6                      We are at the offices of Capshaw DeRieux
 7 in Longview, Texas, and I am here for a deposition of
 8 Sony Electronics pursuant to the subpoena and notice
 9 served on Monday, November 23rd, 2009, in the case of
10 Marvell Semiconductor, Inc. versus Commonwealth
11 Scientific and Industrial Research Organisation, Case
12 No. 6-07-CV-204 in the Eastern District of Texas -- in
13 the United States District Court for the Eastern
14 District of Texas, Tyler Division.
15                      We are going on the record right now just
16 to confirm that we have no appearance by Sony
17 Electronics, and I guess that's it.
18                     SUBSCRIBED AND SWORN TO UNDER MY HAND
19 on this the 2nd day of December, 2009.



                                      k\!,k~~d~
20
21
                                                                   RPR
22                                    Texas CSR~101        .
                                      Expiration:  12/31/08
23                                    GRETCHEN SHORE COURT REPORTING
                                      AND LITIGATION SUPPORT
24                                    FIRM REGISTRATION 90
                                      P. O. BOX 1789
25                                    LONGVIEW, TEXAS 75606
                                      (903) 758-2183
               Gretchen Shore Court Reporting & Litigation Support
          903-758-2183 * 903-758-4890 * gretchenshore@gretchenshore.com
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                                      §
  MARVELL SEMICONDUCTOR, INC.                         §
                                    §
  MARVELL ASIA PTE., LID., and MARVELL
  INTL., LID,                       §
                                    §
                 Plaintiffs and     §                         Civil Action No. 6-07-CV-204 LED
                 Counterdefendants, §
                                    §                        Jury Trial Demanded
            v.                      §
                                    §
  COMMONWEALTH SCIENTIFIC AND       §
  INDUSTRIAL RESEARCH ORGANISATION, §
                                    §
                 Defendant and      §
                 Counterc1aimant.   §


         COMMONWEALTH SCIENTIFIC AND INDUSTRIAL RESEARCH
    ORGANISATION'S NOTICE OF INTENT TO DEPOSE A REPRESENTATIVE FOR
       SONY ELECTRONICS, INC. PURSUANT TO FED. R. CIY. PRO. 30(B)(6)

         PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) of the Federal Rilles of Civil

  Procedure, Plaintiff Co=onwealth Scientific and Industrial Research Organisation will take the

  deposition upon oral examination of Sony Electronics, Inc., 555 Madison Ave., Floor 8 c/o Sony

  Corp. of America, New York, NY 10022-3337, co=encing on Monday, November 30, 2009, at

  9:00 am. Sony Electronics, Inc. can be served through its registered agent for service of process

  Corporation Service Company d/b/a CSC - Lawyers Inco, 211 E. 7th Street, Wuite 620, Austin

  Texas 78701. The deposition will be conducted at the offices of Capshaw DeRieux LLP at 1127

  Judson Road, Suite 200, Longview, Texas 75601, or other such place as agreed upon by the

  parties. Sony Electronics, Inc. is directed to designate and produce one or more of its officers,

  directors, managing agents, or other designated persons to testifY on its behalf as to the

  information known or reasonably available to Sony Electronics, Inc. concerning the matters set

  forth in ATTACHMENT A.


                                                                                       EXHIBIT
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         This is an independent Rule 30(b)(6) notice that does not supersede, modif'y, or affect in

  any manner other Rule 30(b)(6) notices that have been served during this litigation.

         The deposition will be recorded stenographically before a notary Public or other officer

  authorized to administer oaths, and shall continue day-to-day, excluding weekends and holidays,

  until completed.



  DATED: November 23, 2009             Respectfully submitted,



                                       By: /s/ S. Calvin Capshaw
                                            S. Calvin Capshaw .
                                            State Bar No. 03783900
                                            ccapshaw@capshawlaw.com
                                            Elizabeth L. DeRieux
                                            State Bar No. 05770585
                                            ederieux@capshawlaw.com
                                            D. Jeffrey Rambin
                                            State Bar No. 00791478
                                            jrambin@capshawlaw.com
                                            Capshaw DeRieux, L.L.P.
                                            1127 Judson Road, Suite 220
                                            Longview, Texas 75601
                                            Telephone: (903) 236-9800
                                            Facsimile: (903) 236-8787

                                            Attorneys for Defendant,
                                            CO"MMONWEALTH SCIENTIFIC AND
                                            INDUSTRIAL RESEARCH ORGANISATION


                                  CERTIFICATE OF SERVICE

          I hereby certify that counsel of record who are deemed to have consented to electronic
  service are being served the 23 rd day November, 2009, with a copy of this document via the
  Court's CMlECF system per Local Rule CV-5(a)(3), or to the extent not available in that
  manner, counsel of record will be served by electronic mail, facsimile transmission and/or first
  class mail on this same date.

                                                       /s/ S. Calvin Capshaw
                                                       S. Calvin Capshaw
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                                       §
  MARVELL SEMICONDUCTOR, INC.                          §
  MARVELL ASIA PTE., LTD., and MARVELL                 §
  INTL., LTD,                                          §
                                                       §
                         Plaintiffs and                §
                         Counterdefendants,            §       Civil Action No. 6-07-CV-204 LED
                                                       §
                v.                                     §       Jury Trial Demanded
                                                       §
  COMMONWEALTH SCIENTIFIC AND                          §
  INDUSTRIAL RESEARCH ORGANISATION,                    §
                                                       §
                         Defendant and                 §
                         Counterclaimant.              §


                                          ATTACHMENT A


                                               Definitions

         The following terms and definitions shall apply to this Notice:

      I) "And" as used herein shall mean and/or;

     2) "Identification," ''identify,'' or ''identify,'' when used with reference to:

             a. An individual person means to state his or her full name, present or last known

                 employer, job title, present or last known residential address and telephone

                 number, and present or last known business address and telephone number;

             b. A business entity means to state the full name and address of the entity and the

                 names and positions of the individual or individuals connected with such entity

                 who have knowledge of the information requested; and

             c. A document means to state the type of document (letter, report, fact sheet, etc.);

                 its date, author(s) or originator(s), addressees; all individuals who received copies

                 of the document; the identity of the persons known or presumed by you to have
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                present possession, custody, or control thereof; and a brief description of the

                subject matter and present location;

     3) "Person" or "people" shall refer to any natural person, firm association, partnership,

        corporation, group, organization, or other form oflegal business entity.

     4) "You" or "your" means Sony Electronics; Inc. and includes any officers, directors,

        partners, associates, employees, staff members, agents, representatives, attorneys, foreign

        or domestic subsidiaries, parents, affiliates, divisions, successors, predecessors, and any

        other rel~ted entities, and specifically includes all assets or companies that have been

        acquired by Defendant or with respect to which it has succeeded to rights and/or

        obligations.
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                         Sony Electronics, Inc. 30(b)(6) Deposition Topics

  1.    The documents, records, reports, and thlngs contained in ATTACHMENT B and
        videos contained in ATTACHMENT C, (collectively referred to as "Material at
        Issue") including:

        A. The identification of the Material at Issue;
        B. Confirmation or denial that the Material at Issue is or was publicly available on your
           website;
        C. Confirmation or denial that Material at Issue was placed on the web by you;
        D. Confirmation or denial that the originals of the Material at Issue are within your
           "possession, custody or control" under Fed.R.Civ.P. 26(a)(1)(A)(ii);
        E. Confirmation or denial that the Material at Issue was made in the regular course of
           your business;
        F. Confirmation or denial that the Material at Issue was kept in the regular course of
           your business;
        G. Confirmation or denial that the Material at Issue was made at or near the time of the
            occurrence of the matters set forth by, or from information transmitted by, a person
           with knowledge of those matters;
        H. Confirmation or denial that the entries on or contained in the Material at Issue were
            made at or near the time of the act, event, statement, information, or transaction
            recorded or reflected in the Material at Issue;
        1. Confirmation or denial that it was in the regular course of your business for a person
            with knowledge of the acts, events, statements, conditions, or opinions recorded or
            reflected in or on the Material at Issue to make or record or transmit the information
            to be included in the Material at Issue; and
        J. Discussion, exploration, explanation, or investigation of the items above if the
            answers are anythlng other than a whole and unqualified confirmation, and to the
            extent that such answers are required., the documents, reports, videos, and other
            materials will be referred to separately as needed.


  II.   Confirm the identity of the following corporate officers:

        A. Howard Stringer;
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         1) Ryoji Chubachi; and
         2) Kazuo Hirai.


  III.      Confirm statements attributed to you in the article(s) in ATTACHMENT D.
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                              §
  MARVELL SEMICONDUCTOR, INC.                 §
  MARVELL ASIA PTE., LTD., and MARVELL        §
  INTL., LTD,                                 §
                                              §
                    Plaintiffs and            §
                    Counterdefendants,        §     Civil Action No. 6-07-CV-204 LED
                                              §
              v.                              §     Jury Trial Demanded
                                              §
   CO~ONWEALTHSCffiNTITICAND                  §
  INDUSTRIAL RESEARCH ORGANISATION,           §
                                              §
                    Defendant and             §
                    Counterclailnant.         §


                                   ATTACHMENT B



                    See documents contained on CD which is attached.
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                              §
  MARVELL SEMICONDUCTOR, INC.                 §
  MARVELL ASIA PTE., LTD., and MARVELL        §
  INTI., LTD,                                 §
                                              §
                    Plaintiffs and            §
                    Counterdefendants,        §      Civil Action No. 6-07-CV-204 LED
                                              §
              v.                              §      Jury Trial Demanded
                                              §
  COMMONWEALTH SCIENTIFIC AND                 §
  INDUSTRIAL RESEARCH ORGANISATION,           §
                                              §
                    Defendant and             §
                    Counterclaimant.          §


                                  ATTACHMENT C




                     See video(s) contained on CD which is attached.
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

                                     §
   MARVELL SEMICONDUCTOR, INC.       §
                                     §
   MARVELL ASIA PTE., LTD., and MARVELL
   INTL., LTD,                       §
                                     §
                  Plaintiffs and     §
                  Counterdefendants, §                Civil Action No. 6-07-CV-204 LED
                                     §
             v.                      §                Jury Trial Demanded
                                     §
   COMMONWEALTH SCIENTIFIC AND       §
   INDUSTRIAL RESEARCH ORGANISATION, §
                                     §
                  Defendant and      §
                  Counterclaimant.   §


                                   ATTACHMENT D




                     See article(s) contained on CD which is attached.
